                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

SITEL CORPORATION,                     )
                                       )
             Plaintiff                 )
                                       )         No. 3:12-0259
v.                                     )         Magistrate Judge Bryant
                                       )
AMERICAN HOME ASSURANCE CO.,           )
                                       )
             Defendant                 )
                                   O R D E R

             The parties have filed their Stipulation of Dismissal
(Docket Entry No. 46). The complaint is therefore DISMISSED, and
the Clerk is directed to close the file.
             It is so ORDERED.

                                           /S/ John S. Bryant
                                           JOHN S. BRYANT
                                           United States Magistrate Judge




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